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                   IN THE UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

In Re:                                                 Case No.: 6:14-bk-00034-CCJ
         Gildharee Persaud
         Bhagwatie Persaud                             Chapter 13

      Debtors.
______________________/

    AGREED ORDER ON VERIFIED MOTION TO VALUE COLLATERAL
   OF KONDAUR CAPITAL CORPORATION, AS SEPARATE TRUSTEE OF
            MATAWIN VENTURES TRUST SERIES 2013-3

         THIS CASE came on for a hearing on August 19, 2014, upon the Debtors’

Verified Motion to Value Collateral of Kondaur Capital Corporation, as Separate Trustee

of Matawin Ventures Trustee Series 2013-3 (Claim No. 6) (Doc. No. 36) and Creditor’s

Response and Objection to Motion to Value and Determine Secured Status filed by Kondaur Capital

Corporation, as Separate Trustee of Matawin Ventures Trustee Series 2013-3 (Doc. No. 38), and

the parties having agreed on the matters and the Court being fully advised on the

premises, it is:

Accordingly, it is:

         ORDERED that the Debtors’ Verified Motion to Value Collateral of Kondaur

Capital Corporation, as Separate Trustee of Matawin Ventures Trust Series 2013-3 is

hereby GRANTED. It is further:

         ORDERED that the Collateral, being more particularly described as:

         1 Bahia Trace
         Ocala, FL 34472

         LEGAL DESCRIPTION
         LOT 10, BLOCK 111, SILVER SPRINGS SHORES UNIT NO 7, AS PER
         PLAT THEREOF, RECORDED IN PLAT BOOK J, PAGE(S) 94
         THROUGH 102, PUBLIC RECORDS OF MARION COUNTY, FLORIDA.
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bought from Kondaur Capital Corporation, as Separate Trustee of Matawin Ventures

Trust Series 2013-3, is determined to have a value of $79,000.00 pursuant to 11 U.S.C.

§506 of the Bankruptcy Code. It is further:

       The Parties agree and it is ORDERED that the mortgage between Kondaur

Capital Corporation, as Separate Trustee of Matawin Ventures Trust Series 2013-3 and

the Debtors, Gildharee Persaud and Bhagwatie Persaud, shall be modified to a principal

balance of $79,000.00 @ 5.25% with a complete payoff by Debtors of reduced secured

claim by month twenty-four (24) of the plan, and secured Creditor shall be granted relief

from stay should full payment not be received by the twenty-fourth month of the plan.

The Debtors must maintain insurance and pay all ad valorem property taxes due on the

property, and prove proof of insurance to secured Creditor. Other than the terms

identified above, all other terms and conditions of the previous note and mortgage,

recorded in the Marion County, Florida public records at OR Book 04242 Page 1164-

1169, on November 14, 2005, shall remain in full force. Nothing in the parties’

agreement or this Order shall be deemed a work a Novation. It is further:

       ORDERED that the $79,000.00 secured Claim shall be considered long term debt

within the meaning of ʹ1322(b)(5) and shall be deemed non-dischargeable pursuant to

ʹ1328(a)(1) of the Bankruptcy Code; however, upon payment in full of the secured claim

as described above, the loan will be deemed satisfied pursuant to the terms of this Order.

Until entry of a Chapter 13 Discharge, Creditor will retain a lien in the amount of

$79,000.00 and in the event of a default in payments, Creditor is entitled to foreclose its

lien on the Property. The lien will be deemed satisfied upon payment in full of the

secured Claim of $79,000.00, plus interest. It is further:
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        ORDERED that this Order shall be recorded in the public records of Marion

County, Florida.

        ORDERED that in the event that this case in converted under any other Chapter,

dismissed, or closed without discharge, then Creditor’s Claim shall no longer be

considered bifurcated under the terms of this Order and shall be restored in full force and

effect on the real property. It is further:

        ORDERED that the remaining balance of $130,151.16 shall be an allowed

unsecured claim for the purposes of distribution through the Debtors’ Chapter 13 Plan.
        DONE andORDERED
        DONE and ORDEREDininOrlando,
                             Orlando,  Florida, this 11th day of September, 2014
                                     Florida




                                                         ______________________________
                                                         CYNTHIA C JACKSON
                                                         United States Bankruptcy Judge



       Kondaur Capital Corporation, as Separate Trustee of Matawin Ventures Trust Series
2013-3 and the Debtors, Gildharee Persaud and Bhagwatie Persaud, by and through their
undersigned counsel consent to the entry of this Agreed Order.

/s/ Matthew Klein                                        /s/ Joel L. Gross
MATTHEW KLEIN                                            JOEL L. GROSS, ESQ.
Florida Bar No. 73529                                    Florida Bar No. 419796
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Attorney for Kondaur                                     Attorney for Debtors


Attorney Joel Gross is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of the order.
